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                         IN THE UNITED STATES DISTRICT COURT

                        FOR THE EASTERN DISTRICT OF VIRGINIA

                                        Richmond Division

TRU CREDITOR LITIGATION TRUST,
     Plaintiff,

       v.                                                     Civil No. 3:20cv311 (DJN)

DAVID A. BRANDON, et al.,
     Defendants.
                                             ORDER

       This matter comes before the Court upon transfer from the United States District Court

for the Southern District of New York (ECF No. 12). The transferor court ordered that this

action be transferred to this Court “for anticipated referral to Judge Phillips of the Bankruptcy

Court for the Eastern District of Virginia, Richmond Division.” (ECF No. 11.)

       Plaintiff’s Complaint relates to Chapter 11 bankruptcy proceedings jointly administered

under Case No. 17-34665 and presided over by United States Bankruptcy Judge Keith L.

Phillips. By this Court’s standing order issued on August 15, 1984, the Court automatically

refers all bankruptcy matters to the Bankruptcy Court. Accordingly, pursuant to 28 U.S.C.

§ 157(a) and the Court’s standing order, it is hereby ORDERED that this case be referred to

United States Bankruptcy Judge Keith L. Phillips for all further proceedings.

       Let the Clerk file a copy of this Order electronically and notify all counsel of record.

       It is so ORDERED.

                                                      _________/s/____________
                                                      David J. Novak
                                                      United States District Judge

Richmond, Virginia
Dated: May 5, 2020
